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                                                                               Eastern District of Kentucky
                                                                                     FILED                 •
                        UNITED ST ATES DISTRICT COURT                              MAY 2 3 2024
                        EASTERN DISTRICT OF KENTUCKY
                                                                                       A LON 0N
                             SOUTHERN DIVISION                                       ROBERT R CARR
                                                                                C ERK u s DIS RICT couR·
                                  PIKEVILLE

UNITED STATES OF AMERICA

V.                                                  INDICTMENT NO. ·t: Z4-GCZ."' oOf/· \.:."-'..,
                                                      18 U.S.C. § 922(g)(l)

STEPHEN CRAIG CALHOUN,
    aka FIDGET

                                       * * * * *

THE GRAND JURY CHARGES:

       On or about July 29, 2022, in Knott County, in the Eastern District of Kentucky,

                            S l'.l!:Ptf.i!:N CH.All,; CALHOUN,
                                       aka FIDGET,

knowing he had previously been convicted of a crime punishable by imprisonment for a

term exceed ing one year, knowingly possessed a firearm , to wit, a Taurus, PT709 9mm

p istol with serial number TFR04525, which had been shipped or transported in interstate

commerce, a ll in violation of 18 U.S.C. § 922(g)( 1).

                            FORFEITURE ALL EGATIO NS
                                18 U.S.C. § 924(d)(l)
                                  28 u.s.c. § 2461

       1.     By v irtue of the commission of the fe lony offense charged in this Indictment,

STEPHEN CRAIG CALHOUN, aka FIDGET, shall forfeit to the United States any and

al l firearms and ammunition involved in or used, or intend ing to be used, in the violations
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of 18 U.S.C. § 922. Any and all interest that STEPHEN CRAIG CALHOUN, aka

FIDGET, has in this property is vested in and forfeited to the United States pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 246 1.

   2. The property to be forfeited includes, but is not limited to, the follow ing:
      FIREARMS AND AMMUNITION:
      a.  Taurus PT709, 9mm pistol SIN: TFR04525; and
      b.   All associated ammunition and accessories.




CARLTON S. SHIER IV
UNITED ST A TES ATTORNEY
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                                      PENALTIES

Not more than 15 years imprisonment, not more than a $250,000 fine, and not more than
3 years of supervised release.


PLUS:              Forfeiture of all listed property.

PLUS:              Mandatory special assessment of $ 100.

PLUS:              Restitution, if app licable.
